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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF GEORGIA
                                        AUGUSTA DIVISION


UNITED STATES          OF AMERICA                  *


        V.                                        *                  1:13-CR-010


JANICE       SMALLEY                              *
                                                  *




                                            ORDER




        On September 9, 2 013,               Janice Smalley            ("Smalley")         pled guilty

to conspiracy,          two counts of misuse of health identifiers,                             and one

count of       aggravated identify theft.                      (Doc.       317.)      On January 14,

2014,        this    Court   sentenced            Smalley      to    forty-four         (44)    months'

imprisonment.           (Docs.    370,      377.)        Now before the Court is a filing

that    Smalley        styled    as     a    "Motion       for      Recommendation          Concerning

Length of Home Confinement."                     (Doc. 471.)          Specifically,         she "moves

the    Court    to    recommend       to    the    Bureau      of   Prison     ("BOP")      that      [she]

receive 12 months of Home Confinement."                             (Id.    at 1.)     She cites the

Second Chance Act of 2007,                  18 U.S.C.       §3642 (c),       and United States v.

Ceballos,       671 F.3d 852,          856 n.2         (9th Cir.     2011)     as authority.           She

further       emphasizes        that       she    has    been       hospitalized        for    diabetes

complications,          currently          requires       an    orthopedic         boot,      cane,    and

walker, and must sometimes use a wheelchair.                               (Doc.     471 at 2.)

        At the outset,          the Court notes that the precise nature of the

relief Smalley seeks is unclear,                        as is the legal route — or routes

— that she suggests the Court should take to award that relief.                                          In
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light of these observations, as well as the sudden influx of nearly

identical       fill-in-the-blank                motions            from    a     number             of     criminal

defendants,          the     Court       construes             Smalley's         motion           broadly          and

analyzes it on            several bases.                 For the reasons that follow,                              all

those bases         dictate       that    Smalley's motion must                        be DENIED.                (Doc.

471.)

        "A district court may not modify a term of imprisonment once

it has       been    imposed,       except where expressly permitted by Federal

Rule    of    Criminal        Procedure          35      or    by     18    U.S.C.          §    3582,        and      a

district court          lacks      ^inherent power'                 to resentence a defendant."

United States v.             Barsena-Brito,              374    F. App'x 951,                  951    (11th Cir.

2010)     (citing      United       States        v.     Diaz-Clark,             292       F.3d       1310,       1315

(11th Cir.      2002)).

        None of      these avenues            are available           to the          Court      in this         case.


Under Rule          35(a),    a   district          court       may    "correct            a    sentence          that

resulted from arithmetical,                   technical,            or other clear error" within

fourteen days after sentencing.                          Fed. R. Crim. P. 35(a).                          Smalley's

motion    does      not    allege      that       the     Court       committed            any       such     error.

Under    Rule       35(b),    the      government             may    move       for    a       reduction         of    a

defendant's         sentence      based        on     substantial           assistance               provided         by

the    defendant.          Fed.   R.     Crim.      P.   35(b).            No   such       motion          has    been

filed by the government.                  Moreover,            the BOP has not moved to reduce

Smalley's term of imprisonment based on extraordinary circumstances

or    age,    and     there       is     no      applicable           change          in       the        sentencing
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guidelines that has reduced Smalley's guideline range.                                                        See 18
U.S.C.    § 3582(c).


         Furthermore, as Smalley acknowledges (see doc. 471 at 2), the

"primary authority to designate defendant's manner and place of

confinement at any stage during execution of [her] prison sentence

rests    with      the      Bureau         of    Prisons,       not     with        the    Court."             United

States    v.     Morales-Morales,                  985    F.    Supp.        229,    231        (D.P.R.        1997).

The proper vehicle to challenge the execution of a sentence, rather

than the validity of the sentence itself, is a petition for writ of

habeas    corpus         under 28          U.S.C.        § 2241.        United States v.                     Morales-

Morales,        985    F.    App'x          663,       664     (11th    Cir.        2010);          Antonelli       v.

Warden,        U.S. P.      Atlanta,            542    F.3d     1348,        1352     (11th           Cir.     2008);

Veneziano        v.    Grayer,         No.       l:07-CV-2047          TW,    2008        WL       542638,     at   *2

(N.D.    Ga.    Feb.      22,     2 008)        ("An aspect of          the execution of a federal

prisoner's            sentence         is        the      BOP's        choice        of        his      place       of

confinement.")(citations                     omitted).            Even       if     the    Court         liberally

construes Smalley's motion to be a § 2241 petition, her claim still

must be dismissed for lack of jurisdiction because she did not file

it   in the district              in which she           is incarcerated —                the United States


District        Court       for    the       Northern        District         of    Texas.             See     United


States     v.     Pruitt,         417       F.     App'x       903,    904        (11th        Cir.     2011)       ("A

petition        for      writ     of     habeas          corpus       pursuant       to        §    2241      may   be

brought only in the district court                               for the district in which the

inmate     is     incarcerated.")                (citation        and    internal              quotation        marks

omitted).
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        Finally,        to     the       extent       Smalley        merely     asks      — as         other

defendants       have     -    for       a    letter    of    recommendation           for       the   BOP's

consideration,          the    Court         declines    to do       so.     This    Court        sentenced

Smalley pursuant              to   the       Sentencing Reform Act              of   1984        and   fully

weighed the 18 U.S.C.                § 3553(a)         factors.       It adheres to the letter

and     spirit     of        the     rule      that     it     may     not     modify        a    term     of

imprisonment          once     it     has      been     imposed,       except        where        expressly

permitted.         To     make       gratuitous         judicial           recommendations          at     the

post-conviction stage too closely resembles reconsideration of the

sentence that the Court already carefully considered.1                                            This the

Court is unwilling to do.

        For   these      reasons,            the    Court     DENIES        Smalley's     "Motion          for

Recommendation Concerning Length of Home Confinement."                                    (Doc. 471.)

        ORDER ENTERED at Augusta, Georgia this                                ^'      day of August,
2015.




                                                             HONORABLK J .      RANDAL    HALL
                                                             UNITED SPATES DISTRICT JUDGE
                                                                  IERN DISTRICT OF GEORGIA




1       The   Court     acknowledges          the   Ninth    Circuit's       suggestion      in    dicta    in
Ceballos that district courts have the authority "to make . . . non-binding
recommendations to the [BOP] at any time — including but not limited to —
during the sentencing colloquy."  671 F.3d at 856 n.2.   Ceballos, however, is
not binding in this circuit and, in any case, Ceballos also recognized that
district courts have the authority not to make such recommendations.  Id.
